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January 26, 2015

BY ELECTRONIC MAIL

Serrin Turner

Timothy T. Howard

Assistant United States Attorneys
Southern District of New York
One St. Andrew’s Plaza

New York, New York 10007

Re: United States v. Ross Ulbricht
14 Cr. 68 (KBF)

Dear Mr. Turner and Mr. Howard:

This letter is submitted on behalf of Ross Ulbricht, providing formal notice, pursuant to
Rule 16(b)(1)(C), Fed.R.Crim.P., that the defense plans to call Andreas M. Antonopoulos to
provide expert opinion testimony on the following subjects:

1, the origins of Bitcoin;
2. the various purposes and uses of Bitcoin;
3. the mechanics of Bitcoin transactions, including explanation of Bitcoin wallets,

accounts, exchanges, and the blockchain;
4. the ability to track transactions and participants in Bitcoin transactions;

5. the value of Bitcoin over time since its inception, and the cause of various
increases and decreases in the value of Bitcoin at certain points in time;

6. the concepts of Bitcoin speculating and Bitcoin mining;
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LAW OFFICES OF Serrin Turner & Timothy T. Howard

JOSHUA L. DRATEL, P.C. Assistant United States Attorneys
Southern District of New York

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Ti the ability to tie Bitcoins from Silk Road to Mr. Ulbricht; and

8. the dollar value of Bitcoins generated through transactions on Silk Road, at
various points in time, including at the time or Mr. Ulbricht's arrest.

In addition, Mr. Antonopoulos’s Curriculum Vitae is attached hereto.

( ruly yours,

say A. Lewis

LAL/
Encl.
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CURRICULUM VITAE

Andreas Antonopoulos
andreas@antonopoulos.com

EDUCATION
1991-1994 B.Sc. (Hons.) Computer Science. University College London, London, UK.

Project in distributed collaborative computing, X-Windows screen-sharing
protocol.
1994-1995 M.Sc. Data Communications Networks & Distributed Systems (DCNDS).

University College London, London, UK. M.Sc.
Project in cross-platform distributed data exchange framework as part of the EU

(HANSA ESPRIT) funded project.

EMPLOYMENT HISTORY

2011 —to date RootEleven / Andreas M. Antonopoulos LLC
Founder

Consulting, advisory services in crypto-currencies for startup companies.

2003-2011 Nemertes Research, NY/CA
Partner, ClO, Lead Security Analyst

Developed and managed research projects, conducts strategic seminars and advised
key clients as the lead analyst in Information Security, Data Center and Cloud
Computing. CIO for the firm, managing a diverse cloud infrastructure supporting
distributed team. Responsible for HR and legal management. Founding partner and
managing director

2002-2003 ThruPoint Inc, NY
Director Security Practice

Directed a team of 70-80 network security, information security and penetration
testing engineers, ensuring consistent delivery of consulting and professional services
across a global delivery team. Support sales efforts as team lead and promoted
standardization of deliverables. Worked on accurately predicting and accounting for
work effort, profit margin and project management in sales proposals.

2001-2002 Greenwich Technology Partners, NY
Security Practice Lead
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{led the North East security practice, covering NY, NJ and CT, supporting sales
operations (SME), delivering security advice and services and leading projects,
including architecting global secure financial transaction network for SWIFT.

2000-2001 Managed Business Network, London, Great Britain,
Founder / Consulting and Integration Services

1997-2000 Phaia Limited, London, UK
Managing Director / Co-Founder

1997-2000 Learning Tree International, London, UK
Instructor - Security, Networking

1995-1997 University College of London, Computer Science Department, London, UK,
Research Fellow, ESPRIT-funded interactive media project.
External Lecturer
Lead Research Fellow, ‘Distributed Application Generation',” EPSRC-funded

project.

1995-1997 Athena Systems Design Limited, London, Great Britain,
Consultant

1993-1995 Odey Asset Management, London, Great Britain
IT Manager

1991-1993 IT Consulting

1990-1991 IBM Greece
Network Support

1989-1991 Athens Greece
Programming BASIC - Private Lessons

TEACHING/RESEARCH

1992-1994 University College London - Computer Lab Assistant

1994-1995 University College London - Teaching Assistant “Internet and E-Commerce”
1995-1997 University College London - Research Fellow “Distributed Systems Lab”
2014-to date University of Nicosia - Teaching Fellow “M.Sc. Digital Currencies”

PUBLICATIONS
Peer-Reviewed - Framework for Distributed Application Generation, SPEEDUP Volume 11, Number 1,

pp.15-17, Scientific Journal, (Jun. 1, 1997)
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More than 200 published articles and reports on Security, Data Centers, Cloud Computing and
Cryptographic Currencies

PATENTS
System and Method for Securing Virtualized Networks

United States 61/720,343

System and Method for Dynamic Management of Network Device Data
United States 9479P001
